               Case 1:18-cv-05079-WFK-VMS Document 1-1 Filed 09/04/18 Page 1 of 2 PageID #: 8

JS44 (Rev. 08/18)              ORIGINAL                                       CIVIL COVER SHEET
TheJS 44 civilcoversheetandthe information contained herein neither replace norsupplement the filing andservice of pleadings or otherpapers as required by law, except as
provided by local rules ofcourt. This form, approved by the Judicial Conference ofthe United States inSeptember 1974, isrequired for the use ofthe Clerk ofCourt for the
purpose of initiating the civil docket sheet. (SEEINSTRUCTIONS ONNEXTPAGE OFTHIS FORM.)

hiBkr feSAJaliWs^r., #18A0329, Clinton Correctional Facility, P.O.                                            <$£(£i^AicflStorney, Richard A. Brown
Box 2000, DaMHUKO?*-, *N l^W
      (b) County of Residence of FirstListed Plaintiff                                                          County of Residence of First Listed Defendant
                                   (EXCEPTIN U.S PLAINTIFFCASES)                                                                                 (IN U.S. PIAINT1FF CASESONLY)
                                                                                                                NOTE:       IN LAND CONDEMNATION CASES, USE THE LOCATION OF
                                                                                                                            THE TRACT OF LAND INVOLVED.


      (cl Attorneys (Firm Name, Address, and Telephone Number)                                                      Attorneys (If Known)
      o Se: See Above
    Pro




II. BASIS OF JURISDICTION (Place an "X" inOne Box Only)                                             III. CITIZENSHIP OF PRINCIPAL PARTIES (Place an "X" inOne BoxforPlaintiff
                                                                                                            (For Diversity Cases Only)                                            and One Boxfor Defendant)
O 1        U.S. Government             O 3       Federal Question                                                                        PTF       DEF                                               PTF         DEF

              Plaintiff                            (U.S. Government Not a Party)                       Citizen ofThis State              O   I     O     I    Incorporated or Principal Place          0     4   0   4
                                                                                                                                                                of Business In This State


D 2        U.S. Government
             Defendant
                                       O 4       Diversity
                                                   (Indicate Citizenship of Parties in Item III)
                                                                                                       Citizen of

                                                                                                                 "CSV I2 8
                                                                                                       Citizen or Subject of a           O 3       O     3    Foreign Nation
                                                                                                                                                                                                       0



                                                                                                                                                                                                       0
                                                                                                                                                                                                             5



                                                                                                                                                                                                             6
                                                                                                                                                                                                                 0



                                                                                                                                                                                                                 O 6
                                                                                                                                                                                                                     5




                                                                                                          Foreign Country

IV. NATURE OF SUIT (I'lace an "X" inOneBox Only)                                                                                                    Click here for: Nature of Suit Code Descriptions.
1             CONTRACT                                                TORTS                               FORFEITURE/PENALTY                           BANKRUPTCY                       OTHER STATUTES                   1

O     110 Insurance                       PERSONAL INJURY                   PERSONAL INJURY            O 625 Drug Related Seizure            O 422 Appeal 28 USC 158             O 375 False Claims Act
O     120 Marine                      O 310 Airplane                    O 365 Personal Injury -              ofPropcrty21USC881              O 423 Withdrawal                    O 376 Qui Tarn (31 USC
O     130 Miller Act                  O 315 Ajri)te|e »*{u*T •^9                 Pkduct Liability      O 690 Other                                     28 USC 157                      3729(a))
0 140 Negotiable Instrument
                                                toIKTj£S 367J^Jalth Care/
O 150 Recovery ofOverpayment O 320Alsa\lWbll & * *^™J PnaAiaceutical                                                                              PROPERTY RIGHTS
                                                                                                                                                                                 O 400 State Reapportionment
                                                                                                                                                                                 O 410 Antitrust
      & Enforcement of Judgment       Slander                  Personal Injury                                                               O 820 Copyrights                    O 430 Banks and Banking
O 151 Medicare Act              O 330 Federal Employers'       Product Liability                                                             O 830 Patent                         O 450 Commerce
O 152 Recovery of Defaulted           Liability          O 368 Asbestos Personal                                                             O 835 Patent - Abbreviated           O 460 Deportation
      Student Loans             O 340 Marine                   Injury Product                                                                          New Drug Application       O 470 Racketeer Influenced and
                                                                                                                                             O 840 Trademark                                Corrupt Organizations
      (Excludes Veterans)
O 153 Recovery ofOverpayment
           of Veteran's Benefits
                                      OMSLSCrXNLQfeKIWJ.RTv
                                      O 350 Motor Vehicle               O 370 Other Fraud
                                                                                                                      LABOR
                                                                                                       O 710 Fair Labor Standards
                                                                                                                                                 SOCIAL SECURITY
                                                                                                                                             O 861HIA(1395fi)
                                                                                                                                                                                  O 480 Consumer Credit
                                                                                                                                                                                  O 485 Telephone Consumer
O     160 Stockholders'Suits          O 355 Motor Vehicle               O 371 Truth in Lending                 Act                           O 862 Black Lung (923)                     Protection Act
O     190 Other Contract                        Product Liability       O 380 Other Personal           O 720 Labor/Management                O 863 DIWC/DIWW (405(g))             O 490 Cable/Sat TV
O 195 Contract Product Liability      O 360 Other Personal                    Properly Damage                  Relations                     O 864 SSID Tide XVI                  O 850 Securities/Commodities/
O     196 Franchise                         Injury                      O 385 Property Damage          O 740 Railway Labor Act               O 865 RSI (405(g))                         Exchange
                                      O 362 Personal Injury -                 Product Liability        O 751 Family and Medical                                                   O 890 Other Statutory Actions
                                            Medical Malpractice                                                Leave Act                                                          O 891 Agricultural Acts
1          REAL PROPERTY                   CIVIL RIGHTS                  PRISONER PETITIONS            O 790 Other Labor Litigation               FEDERAL TAX SUITS               O 893 Environmental Matters

O 210 Land Condemnation               O   440   Other Civil Rights          Habeas Corpus:             O 791 Employee Retirement             O 870 Taxes (U.S. Plaintiff          O 895 Freedom of Information
O 220 Foreclosure                     O   441   Voting                  O 463 Alien Detainee                 Income Security Act                   or Defendant)                            Act

O 230 Rent Lease & Ejectment          O   442   Employment              O   510 Motions to Vacate                                            O 871 IRS—Third Party                O 896 Arbitration
O 240 Torts to Land                   O   443   Housing/                        Sentence                                                               26 USC 7609                O 899 Administrative Procedure
O 245 Tort Product Liability                    Accommodations          O 530 General                                                                                                   Act/Review or Appeal of
O 290 All Other Real Property         O 445 Amer. w/Disabilities - O 535 Death Penalty                         IMMIGRATION                                                              Agency Decision
                                                Employment                  Other:                      O 462 Naturalization Application                                          O 950 Constitutionality of
                                      O 446 Amer. w/Disabilities - O 540 Mandamus & Other               O 465 Other Immigration                                                             State Statutes
                                                Other                   H 550 Civil Rights                     Actions
                                      O 448 Education                   O 555 Prison Condition
                                                                        O 560 Civil Detainee-
                                                                                Conditions of
                                                                                Confinement

V. ORIGIN (Place an "X" inOne Box Only)
X1 Original                  O 2 Removed from                O 3        Remanded from              • 4 Reinstated or        O 5 Transferred from              O 6 Multidistrict               O 8 Multidistrict
   Proceeding                    State Court                            Appellate Court                Reopened                 Another District                  Litigation-                     Litigation -
                                                                                                                                (specify)                         Transfer                       Direct File
                                           Cite the U.S. Civil Statute under which you are filing (Donotcitejurisdictional statutes unlessdiversity):

VI. CAUSE OF ACTION Brief description of cause:
                                             Civil Action Pursuant To 42 USC 1983, et al
VII. REQUESTED IN                          O CHECK IFTHIS ISA CLASS ACTION                                 DEMANDS                                        CHECK YES only if demanded in complaint:
            COMPLAINT:                            UNDERRULE23, F.R.Cv.P.                                                                                     JURY DEMAND:              3SC Yes         ONo
VIII. RELATED CASE(S)
             IF ANY                             (See instructions):     ^^             RANDOM/RANDOM                                              DOCKET NUMBER NONE
    DATE                                                                    SIGNATURE OF ATTORNEY OF RECORD

09/04/2018
    FOR OFFICE USE ONLY

      RECEIPT U                    AMOUNT                                       APPLYING IFP
                                                                                                    sm                           JUDGE
                                                                                                                                             U1BL                    MAG. JUDGE
                                                                                                                                                                                              VKS
        Case 1:18-cv-05079-WFK-VMS Document 1-1 Filed 09/04/18 Page 2 of 2 PageID #: 9
                                                  CERTIFICATION OF ARBITRATION ELIGIBILITY
Local Arbitration Rule 83.10 provides that with certain exceptions, actions seeking money damages only in an amount not in excess of 5150,000,
exclusiveof interest and costs, are eligible for compulsory arbitration. The amountof damagesis presumedto be below the threshold amount unless a
certification to the contrary is filed.

Case is Eligible for Arbitration

\y                                                       , counsel for                                     , dohereby certify that theabove captioned civil action is ineligible for
compulsory arbitration for the following reason(s):

                        monetary damages sought are in excess of $150,000, exclusive of interest and costs,

                        the complaint seeks injunctive relief,

                        the matter is otherwise ineligible for the following reason


                                   DISCLOSURE STATEMENT - FEDERAL RULES CIVIL PROCEDURE 7.1

                                    Identify any parent corporation and any publicly held corporation that owns 10% or more or its stocks:




                                   RELATED CASE STATEMENT (Section VIII on the Front of this Form)

Please listall cases thatarearguably related pursuant to Division of BusinessRule50.3.1 inSection VIII on the front of this form. Rule50.3.1 (a) provides that"Acivil case is "related"
to anothercivil case for purposesof this guideline when, because of the similarity of factsandlegal issues or because the cases arisefrom the same transactions orevents, a
substantial saving ofjudicial resources is likely to result from assigning both cases tothe samejudge andmagistrate judge." Rule50.3.1 (b)provides that"A civil case shall not be
deemed "related" to anothercivil case merely because the civil case: (A)involvesidentical legalissues, or(B) involvesthe same parties." Rule 50.3.1 (c) further provides that
"Presumptively, andsubject to the power ofa judge to determine otherwise pursuant to paragraph (d), civil cases shall notbe deemedto be "related" unlessboth cases arestill
pending before the court."

                                                         NY-E DIVISION OF BUSINESS RULE 50.1(d)(2)


1.)         Is the civil action beingfiled in the Eastern District removed from a New York State Court located in Nassau or Suffolk
            County?                       D       Yes        0           No
2.)         If you answered "no" above:
            a) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in Nassau or Suffolk
            County?                       []      Yes        [£] No
            b) Did the events or omissions giving rise to the claim or claims, or a substantial part thereof, occur in the Eastern
            District?                     0       Yes         D       No
            c) If this is a Fair DebtCollection Practice Act case, specify the County in which the offending communication was
            received:

If youranswer to question 2 (b) is "No," does the defendant(ora majority of the defendants, ifthere is more than one) reside in Nassau or
Suffolk County, or, in an interpleaderaction, does the claimant (or a majority ofthe claimants, ifthere is more than one) reside in Nassau or
Suffolk County?              fl           Yes      fl      No
            (Note: A corporation shall be considereda resident of the County in which ithas the most significant contacts).

                                                                                     BAR ADMISSION

            I am currently admitted in the Eastern District of New York and currently a member in good standing of the bar of this court.
                                              •            Yes                                            •          No
            Are you currentlythe subject of any disciplinary action (s) in this or any other state or federal court?

                                              O            Yes       (If yes, please explain              LJ         No




            I certify the accuracy of all information provided above.

            Signature:
                                                                                                                                                                Last Modified: 11/27/2017
